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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Western Division

Colette Bell
                            Plaintiff,
v.                                                 Case No.: 3:20−cv−50078
                                                   Honorable Thomas M. Durkin
Synchrony Bank
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, March 27, 2020:


       MINUTE entry before the Honorable Thomas M. Durkin: Pursuant to the notice of
voluntary dismissal [10], plaintiff's claims against defendant Synchrony Bank are
voluntarily dismissed without prejudice. Civil case terminated. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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